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Attorney for Plaintiff

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

DONALD KUNSTT,
Plaintiff, COMPLAINT FOR DAMAGES
VS. 1. Violation of Civil Rights
(42 U.S.C. §1983)
COUNTY OF LOS ANGELES, Captain 2. Monell Claim
TATIANA PLUNKETT, Commander ie U.S.C. §1983)
ELIER MOREJON, Chief PATRICK 3. Failure to Supervise
JORDAN, Captain MICHAEL DAVIS (42 U.S.C. § 1983)
Commander KEVIN HERBERT Chief 4. Negligence (Govt Code §
JOANN SHARP, Chief JOSEPH 844.6(d))
DEMPSEY, DOES 1-20 5. Negligence (Govt Code § 815.2)
6. Banes Act Violations (Civ Code
Defendants. §§52.1, 43)
DEMAND FOR JURY TRIAL
JURISDICTION

li Jurisdiction of this court is invoked under 28 U.S.C. §§ 1343, (1), (2),
(3) and (4). This action at law for money damages arises under Title 42 U.S.C.
Section 1983 and the United States Constitution, the laws of the State of California
and common law principles to redress a deprivation under color of state law of

rights, privileges and immunities secured to Plaintiff by said statutes, and by the

 

 
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Fourth, Fifth and Fourteenth Amendments of the United States Constitution.

ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
2. At all times herein mentioned, Plaintiff DONALD KNUSTT was an

African American male adult and resident of the County of Los Angeles.

3. At all times herein mentioned, Defendants Captain TATIANA
PLUNKETT, (PLUNKETT) Commander ELIER MOREJON, (MOREJOHN), Chief
PATRICK JORDAN (JORDAN), Captain MICHAEL DAVIS, (DAVIS)
Commander KEVIN HERBERT, (HERBERT), Chief JOANN SHARP, (SHARP)
Chief JOSEPH DEMPSEY (DEMPSEY) and DOES 1-20, inclusive and each of
them, were employees of the COUNTY OF LOS ANGELES, and LOS ANGELES
COUNTY SHERIFFS DEPARTMENT, assigned to oversight and management of
the Los Angeles County Sheriff's Custody Division, Men’s Central Jail, (MCJ),
Inmate Reception Center (IRC) and North County Correctional Facility (NCCF) at
Wayside.

4. Defendant COUNTY OF LOS ANGELES (hereinafter referred to as
"COUNTY ") is and at all times herein mentioned has been a public entity and an
incorporated county duly authorized and existing as such in and under the laws of
the State of California; and at all times herein mentioned, Defendant COUNTY has
possessed the power and authority to adopt policies and prescribe rules, regulations
and practices affecting the operation of the Los Angeles County Sheriffs
Department, (LASD) and particularly said Department's Custody Division,
Classification, Internal Investigations and Training and Personnel Divisions and
other operations and subdivisions presently unidentified to Plaintiff, and their tactics,
methods, practices, customs and usages related to internal investigations, personnel

supervision and records maintenance, the use and deployment of dangerous

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weapons, the use of force, and powers of arrest by its rank and file.

5. Plaintiff is informed and believes and thereon alleges that each of the
Defendants designated as a DOE is responsible in some manner for the events and
happenings herein referred to, and thereby proximately caused injuries and damages
as herein alleged. The true names and capacities of DOES 1 through 20, inclusive,
and each of them, are not now known to Plaintiff who therefore sues said Defendants
by such fictitious names and will be added to this action as provided by California
Code of Civil Procedure Section 484 and FRCP Rule 15.

6. Defendants, and each of them, did the acts and omissions hereinafter
alleged in bad faith and with knowledge that their conduct violated well established

and settled law.

7. On January 23, 2018 a subject identified as Rocco Martin Chavez
physically assaulted Plaintiff Kunstt with a deadly weapon in the City of West
Covina. Chavez was arrested and prosecuted for a violation of Penal Code §
245(a)(1) in the Los Angeles Superior Court Case in case Number KA1 18295 fora
violation of Penal Code § 245(a)(1). On July 5, 2018 Chavez was convicted of this
crime and sentenced to the custody of the Los Angeles County Sheriff to serve six
months in jail. Because Rocco Chavez posed a continuing threat to Plaintiff's safety
and well being, on June 26, 2018 the Superior Court pursuant to Penal Code §136.2
issued a protective order in Plaintiffs favor requiring Rocco Chavez to stay 100
yards away from Plaintiff for 3 years. The clerk of the Superior Court uploaded the
sentence and stay away order to the California DOJ, CLETS and LASD data bases
that same day. Chavez was remanded and housed at North County Correctional
Facility (NCCF) to serve his sentence.

On or about September 7, 2018 Plaintiff was himself arrested by the West

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Covina Police Department on a weapons possession charge and on September 9,
2018 brought to the Inmate Reception Center (IRC) of the Los Angeles County Jail,
operated by the Los Angeles County Sheriffs Department at which time Plaintiff
began notifying Does 1-10, each on-duty jail employees, deputies and custody
assistants, that Rocco Chavez was in their custody and that Plaintiff had a judicial
restraining order against Chavez, asking to not be housed anywhere near Rocco
Chavez fearing for his life and safety. For reasons yet to be discovered, Plaintiff was
received by the jail and thereby came under the control of defendants Captain
TTIANA PLUNKETT, Commander ELIER MOREJON AND Chief PATRICK
JORDAN, and given booking number 5399360, but not properly classified as a K-2
(white wristband with blue stripes) which would insure Plaintiff be kept away from
Chavez while the two were in custody of the Sheriff at the same time. Plaintiff was
temporarily housed at the Men’s Central Jail (MJC) block 9200, “Charlie” row and
thereupon informed he was being transported to Wayside and NCCF where Chavez
was also known by Plaintiff to be housed. Plaintiff again repeatedly informed jail
employees, DOE 1-10, of his fears of being harmed or killed by Chavez and of the
court order Plaintiff had against Chavez which could be confirmed by researching
CLETS , other DOJ and LASD data bases available to jail employees when classified
as an inmate into the County jail. All of these requests and notifications were to no
avail. Plaintiff was not properly classified but instead, placed on a transportation bus
to NCCF. Plaintiff continued to inform LASD jail employees, deputies and custody
assistants (Does 10-15) of the stay away order and the threat Chavez posed to
Plaintiff's safety. His pleas and notifications continued not to be heeded. At NCCF,
plaintiff continued to implore anyone who would listen, including LASD jail
employees, deputies and custody assistants (Does 16-20) that he had a reason to be
classified as a stay away and thereby segregated from Chavez for his own protection
and that Chavez was known to be housed at NCCF while serving his sentence for the

January 23, 2018 assault against Plaintiff.

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Despite his continuous and numerous pleas and communications to LASD
personnel while at NCCF and thereby under the control of defendants Captain
MICHAEL DAVIS, Commander KEVIN HERBERT and Chief JOANN SHARP,
Plaintiff was not segregated from Chavez and Chavez was not kept away from
Plaintiff. Within hours of the two seeing one another at NCCF Dorm 425, on
September 11, 2018 Chavez and a cohort inmate Oswaldo Solarez twice brutally
assaulted Plaintiff causing serious injuries, including breaking Plaintiffs nose,
causing head, face and other permanent injuries to plaintiffs vision. NCCF deputies
rescued Plaintiff from Chavez and Solarez and transported Plaintiff to an infirmary
and from there to Queen of the Valley Hospital in Santa Clarita. At that time Sheriffs
Department investigators and employees finally came to recognize Plaintiff's mis-
classification. Upon plaintiff's medical discharge he was ultimately classified as a
K-2 and briefly housed at MCJ Dorm 2400 and then Super Max Dorm 619 at NCCF
until his release 10-11-18. Rocco Chavez and Oswaldo Solarez were charged by the
Santa Clarita District Attorneys office under Superior Court case number 88C04919
and convicted for their assaults against Plaintiff at NCCF. Another 3 year restraining

order issued in Plaintiff's favor from that conviction.

8. Shortly after Plaintiffs release from custody, Plaintiff filed a complaint
with the Sheriffs Department relating to the wrongful behavior of the jail employees
that disregarded a valid court order, enabled Chavez to attack Plaintiff and cause his
injuries. Plaintiff is informed and believes a self serving biased investigation was
undertaken, and contrary to Penal Code section 832.7 plaintiff was never notified of

the disposition of his complaint.

9. No official involved in the wrongful misconduct against plaintiff has
ever been held responsible or accountable in any manner. All of the aforesaid

misconduct was undertaken pursuant to LASD custom, practice and usage.

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FIRST CAUSE OF ACTION
(VIOLATION OF 4", 5th and 14 AMENDMENT
RIGHTS,- 42 U.S.C. § 1983)
(By Plaintiff Against All Individual Defendants and DOES 1-20)

10. Plaintiff refers to and repleads each and every allegation contained in
paragraphs | through 9 of this complaint, and by this reference incorporate the same

herein and make each a part hereof.

11. This action at law for money damages arises under Title 42 U.S.C. §
1983 and the United States Constitution, the laws of the State of California and
common law principles to redress a deprivation under color of state law of rights,
privileges and immunities secured to Plaintiffs by said statutes, and by the Fourth,

Fifth and Fourteenth Amendments of the United States Constitution.

12. Commencingat or about the aforementioned dates and places, and while
acting under color of law, Defendants Captain TATIANA PLUNKETT, Commander
ELIER MOREJON, Chief PATRICK JORDAN, Captain MICHAEL DAVIS,
Commander KEVIN HERBERT, Chief JOANN SHARP, Chief JOSEPH DEMPSEY
and DOES 1-20 intentionally deprived Plaintiff of rights guaranteed to him by the
Fourth, Fifth and 14"" Amendments by denying him due process and assuring his
safety and well being while in the custody and control of the Sheriff of the County

of Los Angeles as an unconvicted inmate awaiting trial.

13. Defendants, and each of them, jointly and severally carried out and
perpetrated acts and omissions which operated to deprive Plaintiff of his

constitutional rights by individually participating in an unlawful, corrupt and

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collusive effort to deny plaintiff the protections afforded him by the order of the
Superior Court of the County of Los Angeles against prospective assaults by Rocco
Chavez by failing to acknowledge Plaintiff's reports of the threat Chavez posed, of
the existence of a restraining order that could readily be corroborated by
Classification personnel and by housing Plaintiff and Rocco Chavez together at
NCCF which guaranteed, facilitated and enabled Chavez to attack and injure
Plaintiff a second time against the protections of the Superior Court’s stay away

order.

14. Asaproximate result of the aforesaid acts and omissions of Defendants,
and each of them, Plaintiff sustained special and general damages cognizable by law

and in accordance with proof at trial.

15. Byreason of the aforementioned acts and omissions of Defendants, and
each of them, Plaintiff incurred medical and other compensable expenses in an

amount as proved.

16. Byreason of the aforementioned acts of Defendants, and each of them,
Plaintiff was compelled to secure the services of an attorney at law to redress the
wrongs hereinbefore mentioned and by virtue thereof, Plaintiffis indebted and liable

for attorneys fees.

17. The aforementioned acts and omissions of Defendants were committed
by each of them knowingly, wilfully and maliciously, with the intent to harm, injure,
vex, harass and oppress Plaintiff by a conscious disregard of Plaintiffs constitutional
rights and by reason thereof, Plaintiff seeks punitive and exemplary damages from
Defendants, and each of them, (except Defendant COUNTY) in an amount as

proved.

 

 
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SECOND CAUSE OF ACTION
(UNLAWFUL CUSTOM AND PRACTICE UNDER SECTION 1983)
(By Plaintiff Against Defendant County)
18. Plaintiff refers to and repleads each and every allegation contained in
paragraphs | through 17 of this complaint, and by this reference incorporate the

same herein and make each a part hereof.

19, Defendant COUNTY is and at all times herein mentioned has been a
public entity and an incorporated municipality duly authorized and existing as such
in and under the laws of the State of California; and at all times herein mentioned,
Defendant COUNTY, possessed the power and authority to adopt policies and
prescribe rules, regulations and practices affecting the operation of the Los Angeles
County Sheriffs Department and its tactics, methods, practices, customs and usages
related to the operation of its jails, internal investigations, personnel supervision and

records maintenance, and the proper uses of force by its rank and file, generally.

20. At all times herein mentioned, Defendants, and each of them, were
employees acting under the COUNTY’S direction and control, who knowingly and
intentionally promulgated, maintained, applied, enforced and suffered the
continuation of policies, customs, practices and usages in violation of the First,
Fourth, Fifth, Eighth and Fourteenth Amendments respectively to the United States
Constitution, which customs, policies, practices and usages at all times herein
mentioned turned a blind eye to repeated violence and homicides in the jails and
created an atmosphere in the County jails of heightened danger, diminished personal
safety and which resulted in and encouraged the employment, deployment and
retention of persons as peace officers who have demonstrated their brutality,
dishonesty, bigotry, and numerous other serious abuses of their powers as peace
officers in the employment of the COUNTY and LASD.

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21. Defendant COUNTY knowingly maintains and permits official sub-rosa
policies or customs of permitting the occurrence of the kinds of wrongs set forth
above, by deliberate indifference to widespread police abuses, failing and refusing
to impartially investigate, discipline or prosecute peace officers who commit acts of
felonious dishonesty and crimes of violence, each ratified and approved by
COUNTY and LASD.

22. At all times mentioned, Defendant COLA, Captain TATIANA
PLUNKETT, Commander ELIER MOREJON, Chief PATRICK J ORDAN, Captain
MICHAEL DAVIS, Commander KEVIN HERBERT, Chief JOANN SHARP, Chief
JOSEPH DEMPSEY, DOES 1-20 and each of them, maintained customs, practices
and usages that posed a substantial risk of serious harm or death to inmates in
Plaintiffs’ circumstances and each defendant knew that the following customs and
practices posed intolerable risks of harm:

(1) Improper classification and housing of inmates;

(2) inadequate supervision and training of custody assistants and deputy
personnel to provide reasonable security to inmates;

(3) failure to provide reasonable security and/or prevent abuse of inmates by
other inmates;

(4) failure to supervise, investigate or take corrective action in incidents of
failure to provide reasonable security resulting in inmate on inmate violence and
death;

(5) condoning lax supervision of deputy misconduct, unconstitutional conduct
and/or dereliction of duty;

(6) condoning lax supervision by supervisors who fail to report or investigate
employees wrongful, unconstitutional conduct, dereliction of duty and failure to
provide reasonable security to inmates;

(7) condoning lax supervision by line supervisors who fail to report or act on

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employees wrongful conduct toward inmates;

(8) ratifying wrongful conduct by employees what resulted in serious injuries
and death of inmates by failing to direct and implement corrective action to prevent
repetition of wrongful conduct by employees against inmates;

(9) failure to implement competent and appropriate policies and procedures
regarding supervision of gates and control of gates;

(10) failure to enforce policies and procedures regarding the use and
designation of inmate trustees;

(11) failure to implement policies and procedures for the appropriate
designation of inmate workers as trustees; and

(12) failure to comply with policies and procedures related to the inmate

identification.

23. Defendant COUNTY and LASD fostered and encouraged an
atmosphere of lawlessness, corruption, abuse and misconduct, which by September
7, 2018 and thereafter, represented the unconstitutional policies, practices and
customs of the COUNTY and LASD. Moreover, the Citizen’s Commission on Jail
Violence appointed by the County of Los Angeles Board of Supervisors to
investigate and report on the failings identified in subparagraphs 1-12 of paragraph
22 above, made adverse findings of the aforesaid shortcomings in its publication of
September 2012 (http://ccjv.lacounty.gov) which findings proximately caused the
harm suffered by Plaintiff.

24. By reason of the aforesaid policies, customs, practices and usages,
plaintiffs' rights under the Fourth, Fifth and Fourteenth Amendments to the United

States Constitution were deprived.

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THIRD CAUSE OF ACTION
(FAILURE TO TRAIN AND SUPERVISE)

(By Plaintiff Against Defendants Captain TATIANA PLUNKETT,
Commander ELIER MOREJON, Chief PATRICK JORDAN, Captain
MICHAEL DAVIS, Commander KEVIN HERBERT, Chief JOANN SH RP,
Chief JOSEPH DEMPSEY DOES 1-20 in their individual capacities)

25. Plaintiff refers to and repleads each and every allegation contained in
paragraphs | through 24 of this complaint, and by this reference incorporate the

same herein and make each a part hereof.

26. Defendants Captain TATIANA PLUNKETT, Commander ELIER
MOREJON, Chief PATRICK JORDAN, Captain MICHAEL DAVIS, Commander
KEVIN HERBERT, Chief JOANN SHARP, Chief JOSEPH DEMPSEY and DOES
1-20 are sued in their individual capacities. Said defendants knew or reasonably
should have known of their subordinates ongoing constitutional violations set forth
above in the administration of the Custody Division, IRC, MCJ, NCCF sections
thereof. Specifically, defendants knew or should have known of repeated failures
to properly classify inmates, failures to abide by court ordered stay away orders,
failures to provide reasonable security at the jail, failures to prevent inmate on
inmate violence, failures to monitor known violent inmates, failures to investigate
by subordinate supervisors and failures to oversee the competent use of inmates as
trustees. Said failures to act to prevent constitutional misconduct by subordinates

acquiesed, condoned and ratified the customs, practices and usages by subordinates.

27. Defendants, and each of them, are sued for their own culpable actions
and omissions in the training, supervision and control of subordinates including
watch commanders and first level supervision at the jails which actions demonstrated
a reckless and callous indifference to the rights of inmates such as plaintiff Donald

Kunstt. Said defendants’ actions, inactions and deliberate indifference set into

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motion the ultimate harm to plaintiff.

28. Plaintiff is informed and believes and thereon alleges that prior to the
incident complained of herein in September 2018, and as early as 1997, defendants
DOES 1-20 and others charged with the administration of the Custody Division
knew or reasonably should have known that employees of the Los Angeles County
Sheriffs Department committed similar acts of dereliction of duty, deliberate
indifference to employee dishonesty and the failures to properly provide reasonable
security to inmates from one another which are the proximate cause of Plaintiff's

damages.

29. Plaintiff is informed and believes and thereon alleges that prior to the
incident complained of herein in September 2018, and as early as 1997, defendants
DOES 1-20 and others charged with the administration of the Custody Division
failed to take corrective action to prevent the failure to properly provide reasonable
security to inmates from one another which are the proximate cause of Plaintiff's

damages.

30. Beginning in June 1996, the United States Justice Department initiated
its inquiry into the conditions and operation of the Los Angeles County custodial
factilities. On September 5, 1997, the DOJ gave former Los Angeles County Sheriff
Leroy BACA clear and unmistakable notice of constitutionally deficient jail
conditions, reporting its findings of continued and serious patterns of constitutional
violations, abuses of inmates by LASD employees and the deliberate indifference to
inmate upon inmate violence and deaths. Sheriff BACA was at that timea supervisor
for LASD and and member of LASD’s Executive Council by which BACA reviewed
the DOJ’s findings and conclusions related to the mismangement of the Custody

Division, particularly the Men’s Central Jail.

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31. Defendants DOES 1-20 had personal and/or constructive knowledge of
the ongoing deaths and injuries in the County jails and were put on notice of deaths
and injuries in the jails by Special Counsel and the Office of Independent Review
informing the County and former Sheriff BACA of customs, patterns and practices
by Custody Division employees of deliberate indifference to the constitutional rights
of inmates about which the County, Sheriff and DOES 1-20 took no meaningful
corrective action to address the widespread and well settled practices within the
Custody Division by disciplining, terminating, prosecuting or otherwise addressing
subordinates engaged in violence against inmates and preventable inmate against

inmate violence.

32. Defendants County and Former Sheriff BACA along with DOES 1-20
delegated to subordinates and/or to the Office of Independent Review his non-
delegable duty to supervise and hold his subordinates accountable and failed to
undertake any meaningful corrective action in the face of knowledge and notice of

ongoing constitutional violations within the Custody Division.

33. In 1999, under the threat of litigation against the Sheriff and County of
Los Angeles by the United States Department of Justice, former Sheriff BACA and
the County of Los Angeles submitted to a Memorandum of Understanding (MOU)
with the Department of Justice designed to curb the pattern and practice of jail
abuses and constitutional violations which required former Sheriff BACA and the
County to recognize, address and remedy manifestly dangerous conditions in the
Custody Division. Former Sheriff BACA personally executed the MOU and
represented he would insure compliance therewith by the Los Angeles County
Sheriffs Department. Notwithstanding said representations, in 2006 after years of
DOJ monitoring compliance with the MOU, the DOJ issued a report publicizing
BACA’s and the COUNTY’s continued failure and refusal to correct. the

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unconstitutional pattern and practices still existing in the Custody Division. BACA
and RHAMBO were recipients of the 2006 DOJ “progress” report” and continued
to refuse to require the institution of polices and procedures designed to abate

widespread abuses within the Custody Division.

34. OnJuly 6, 2002, inmate Ramon Gavira was severely beaten by a female
LASD deputy and was killed in his cell. In the investigation into that fatality,
deputies and jail staff testified that they had not been subjected to an investigation
or disciplined for lapses in supervision of Gavira nor for the physical abuse to which
LASD employees subjected Gavira in custody. Former Sheriff BACA was personally
advised of these employee admissions and took no action of any kind to discipline,

reprimand or prosecute any responsible employees.

35. On March 22, 2003, former Sheriff BACA was made aware Hispanic
inmate gangs were attacking African American inmates and failed to provide
reasonable security for such inmates from one another. By that reason, inmates
Ahmad Burrel, Rory Fontanelle and Aaron Cunningham were violently assaulted
and injured by fellow inmates. Despite this knowledge, former Sheriff BACA and

County took no corrective or remedial action to address the obvious issues.

36. On October 21, 2003 inmate Ki Hong was killed by inmates while in
custody. Former Sheriff BACA was alerted to serious deficiencies by subordinates
leading to the death of Hong. Former Sheriff BACA did nothing to address the
circumstances brought to his attention and Hong’s homicide became the first of 5

more inmate on inmate homicides in the next six months.

37. On December 6, 2003 inmate Prendergast was violently attacked by

fellow inmates over several hours. Former Sheriff BACA was notified that deputy

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and supervisory personnel on duty during the period had failed to prevent the
violence, violated multiple rules designed to prevent such incidents and were derelict
in their duties. Former Sheriff BACA failed to cause the discipline or prosecution of

any responsible jail employee.

38. On December 9, 2003 inmate Mario Alvarado, aka Victor Cortez was
murdered by inmates while in custody of the Los Angeles County Sheriffs
Department. Assailants were left without oversight or supervision for sufficient time
to conceal Alvarado’s body. Investigation reported to former Sheriff BACA of this
homicide resulted in no discipline or prosecutions of employees found to have

violated numerous violations.

39. On December 13, 2003, and LASD deputies falsified the contents of
Jose Beas reports. Beas had allegedly admitted to crimes against a minor calling for
Stay away classification but Beas was put into general population where inmates
predictably attacked Beas with extreme severity, causing brain damage. Former
Sheriff BACA and County knew of the incident, approved a civil settlement thereof
and failed to hold any employee responsible for their wrongful misconduct leading

to Beas’ assault.

40. On January 12, 2004, inmate Kristopher Faye was killed by inmates in
the custody of former Sheriff BACA and the County of Los Angeles. Deputies
responsible for keeping cell gates closed failed to do so and thereby facilitated the
homicide against LASD rules and regulations. Inmates with recognized propensities
to violence, such as Rocco Chavez in this case, were housed with non violent
inmates. Former Sheriff BACA was made aware of the inmate misclassifications and
housing and took no action to discipline or prosecute any miscreant employee.

Similar, if not identical, homicides continued to take place in the jails.

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41. On April 20, 2004, inmate Raul Tinjero was murdered in his cell by
inmate Santiago Pineda. Pineda had a known history of violence in the jails which
was ignored by jail personnel who allowed Pineda to kill Tinjero from whom he was
required to be separated. Misconduct by jail employees were identified with respect
to security, classification and oversight of Pineda. Former SheriffBACA and County
were notified of these circumstances and failed to take any appropriate measures

against any of the jail employees responsible.

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42. On May 23, 2004 inmate Antonio Fernandez was killed by other

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inmates while in custody in the Los Angeles County jail. The homicide investigation

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disclosed the deputy assigned to monitor Fernandez’s dormitory abandoned her post

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during which time the killing took place. These failures by jail employees were

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reported to former Sheriff BACA and the County who took no remedial, disciplinary

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or prosecutorial action against his subordinates that caused the death of Fernandez.

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43. Foreshadowing the assault of Plaintiff September 11,2018 Special
Counsel Merrick Bobb presented former Sheriff BACA and County a finding of
inmate abuse and publically reported that the County jail is “understaffed, riddled

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with security flaws that jeopardizes the lives of guards and inmates.” Bobb’s report

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criticized the jail for failing to prevent dangerous inmates from being housed with

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lower-risk inmates, that the jails suffer from “lax supervision and long-standing jail

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culture that has shortchanged accountability for inmate safety and security” about

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which BACA, and his Custody Division command staff did nothing.

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44. InFebruary 2005 BACA was notified by Special Counsel Merrick Bobb

that the Sheriffs Department and County were costing millions of dollars annually

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for misconduct that neither former sheriff BACA nor his subordinates had found no

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wrongdoing and no responsible employee was disciplined or prosecuted.

45. On October 24, 2005 inmate Chadwick Shane Cochran was booked and
in custody for a non violent misdemeanor and housed in the mental health facility
of the jail. On November 16, 2005 Chadwick was erroneously housed in the general
population wearing a red identification bracelet which resulted in his being beaten
to death by other inmates. No deputy responsible for the misclassification nor of the
abandonment of their posts which facilitated the homicide or the failure to intervene

resulted in remedial or disciplinary action.

46. The Office of Independent Review (OIR), acting as special counsel to
former Sheriff BACA in 2007 notified BACA deputies continued to abandon their
jail posts, slept on the job, failed to follow protocols, failed to conduct timely
security checks, fraudulently doctored jail records to misrepresent timely security
checks, left inmates unsupervised, and facilitated inmate upon inmate violence.
Former Sheriff BACA and County took no action against any of the offending

employees.

47. In 2011, the ACLU issued a report to former sheriff BACA advising him

of widespread abuses and violence in the jails.

48. In September 2012, the Report on the Citizens Commission on Jail
Violence found former sheriff BACA’s and County’s oversight of the jails had
proven over the years to be abysmal, noting his repeated failures to attend to
repeated notifications that preventable violence was not being abated and no
measures were being taken to insure the safety of inmates from one another or from
deputy personnel. The Commission specifically found “The Sheriff failed to monitor

and control the use of force in Los Angeles County jails”; that “LASD senior

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management failed to investigate the excessive uses of force problems at Mens
Central Jail” and faulted former Assistant Sheriff RHAMBO for mis-managment of
the jails along with his failure to hold employees responsible for violations

accountable.

49. As the result of the supervisor Defendants and former sheriff BACA’s
actions and omissions, the institutional repudiation of constitutional protections

became the moving force behind the attack by Chavez against the plaintiff.

FOURTH CAUSE OF ACTION
(NEGLIGENCE-CA GOVT CODE § 844.6(d))

(By Plaintiff Against Defendants Captain TATIANA PLUNKETT,
Commander ELIER MOREJON, Chief PATRICK JORDAN, Captain
MICHAEL DAVIS, Commander KEVIN HERBERT, Chief JOANN
SHARP, Chief JOSEPH DEMPSEY DOES 1-20 in their individual
capacities)

50. Plaintiff refers to and repleads each and every allegation contained in
paragraphs | through 49 of this complaint, and by this reference incorporate the

same herein and make each a part hereof.

51. Plaintiff timely filed his claim for damages pursuant to California
Government Code § 910 et. seq. on 2/5/19 under file number XX-XXXXXXX*001.
Notice of rejection of said claim was given to Plaintiff by mail 3/19/19 by Latasha
Corry, Senior Associate County Counsel General Litigation Division, Los

Angeles County Counsel. This action is timely filed.

52. On or about September 9 and 11, 2018 while in Defendants’ custody,

Plaintiff was mis classified in contravention of a valid and verifiable judicial

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restraining order and housed together with the restrained inmate, Rocco Chavez.
As the consequence of said negligence, plaintiff was savagely attacked, beaten,

hospitalized and injured.

53. LASD deputies, custody assistants, employees and/or supervisors, all
individual and Doe defendants herein, agents, servants and/or employees of
County and within the course and scope of such agency and under color of
authority, were negligent as regards to plaintiff's health, safety and welfare and

breached that duty of care.

54. As a result of said negligence, plaintiff was damaged as alleged herein.

FIFTH CAUSE OF ACTION
(NEGLIGENCE CA GOVT CODE § 812.2)
(By Plaintiff Against Defendant COUNTY and DOES 1-20 in their individual
capacities)
55. Plaintiff refers to and repleads each and every allegation contained in
paragraphs | through 54 of this complaint, and by this reference incorporate the

same herein and make each a part hereof.

56. On or about September 9 and 11, 2018 while in Defendants’ custody,
Plaintiff was mis classified in contravention of a judicial restraining order and
housed together with the restrained inmate, Rocco Chavez. As the consequence of

said negligence, plaintiff was savagely attacked, beaten, hospitalized and injured.

57. LASD deputies, custody assistants, employees and/or supervisors, all
individual and Doe defendants herein, agents, servants and/or employees of

County and within the course and scope of such agency and under color of

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authority, were negligent as regards to plaintiff's health, safety and welfare and

breached that duty of care.

58. As a result of said negligence, plaintiff was damaged as alleged herein.

SIXTH CAUSE OF ACTION
(BANES ACT CIVIL CODE §§ 52.1, 43)
(By Plaintiff Against Defendant COUNTY and DOES 1-20 in their individual
capacities)

59. The United States Constitution Amendment IV, the California
Constitution Art. 1, § 13, and California Civil Code § 43 guarantee the right of
persons to be free from excessive force and inmate on inmate violence while in
custody. Defendants, by engaging in the conduct, acts and omissions herein
alleged, denied these right to plaintiff by threats, intimidation and/or coersion,

thus giving rise to this claim under California Civil Code §52.1

60. As a direct and proximate result of the aformentioned acts and
omissions by DOES 1-20, plaintiff was injured and damaged as set forth herein,
and is thereby entitled to statutory damages under California Civil Code § 52, as

well as compensatory and punitive damages according to proof.

61. LASD deputies, custody assistants, employees and/or supervisors, all
individual and DOE defendants herein, agents, servants and/or employees of
County and within the course and scope of such agency and under color of
authority, were intentionally and deliberately indifferent to plaintiffs health,

safety and welfare and breached that duty of care.

62. In doing the aforesaid wrongful acts, the individual and DOE

defendants, and each of them, acted in a reckless and callous disregard of the

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constitutional and statutory rights of the plaintiff. The wrongful acts, and each of
them, were willful, oppressive, fraudulent, malicious, thus warranting the
imposition of exemplary damages (except to Defendant County) in an adequate
amount to punish and deter future misconduct. .
PRAYER

WHEREFORE, Plaintiff prays judgment against Defendants and
each of them, as follows:

AS TO EACH CAUSE OF ACTION AS APPLICABLE

l, For General damages according to proof;
a. For Special damages according to proof:
a For Punitive damages as provided by law, in an amount to be proved

against each individual Defendant;

4. For statutory damages as provided by law

5. For attorney's fees pursuant to 42 U.S.C § 1988 and CC § 52.1(h);

6. For Costs of suit;

ti For such other and further relief as the Court may deem proper.
DATED: August 25, 2019 THE BECK LAW FIRM

By

 

Thomas E. Beck
Attorneys for Plaintiff

PLAINTIFF’S JURY DEMAND

 

Plaintiff hereby demand trial by jury.
DATED: August 25, 2019 THE BECK LAW FIRM

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Thomas E. Beck
Attorneys for Plaintiff

21

 
